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                  EXHIBIT F
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                                          Exhibit F

                        Pages Produced by Plaintiffs         Docs Produced by Plaintiffs
                                                                     Docs
             Dep.       Total     Pages        Percent       Total   Post-    Percent
Plaintiff    Date       Pages     Post-Depo    Post-Depo     Docs    Depo     Post-Depo
Hwang        9/16/24    1084      721          66.50%        232     110        47.40%
Golden       9/17/24    16930     14752        87.10%        305     265        86.90%
Lippman      9/17/24    5030      464          9.20%         142     86         60.60%
TerKeurst    9/23/24    26509     21310        80.40%        5072    3657       72.10%
Greer        9/24/24    592       388          65.50%        122     39         32%
Kadrey       9/25/24    4781      3962         82.90%        500     199        39.80%
Woodson      9/30/24    1813      534          29.50%        266     88         33.10%
Silverman    10/10/24   1402      1295         92.40%        259     227        87.70%
Diaz         11/20/24   654       323          49.40%        86      60         69.80%
Coates       11/21/24   781       241          30.90%        113     47         41.60%
Farnsworth   12/4/24    62220     43           0.07%         1449    7          0.48%
Klam         12/10/24   353       0            0             143     0          0
Snyder       12/11/24   473       19           4%            101     18         17.80%
